

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-41,787-05






WILLIAM CODY GRIM, Relator


v.


PALO PINTO COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 10,147; 10,148; 10,149; 10,150 &amp; 10,151

IN THE 29th JUDICIAL DISTRICT COURT FROM PALO PINTO COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed five applications for writs of habeas corpus
in the 29th Judicial District Court of Palo Pinto County, that more than 35 days have elapsed, and that
the applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Palo Pinto County, is ordered to file a response, which may be made by: submitting the records on
such habeas corpus applications; submitting a copy of a timely filed order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that
the nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed  an
application for habeas corpus in Palo Pinto County.  If the District Clerk submits a copy of an order
designating issues, the Clerk shall also inform this Court the date that the State was served with the
11.07 writ application.

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: September 29, 2010

Do not publish	


